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                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF VIRGINIA
                                    Richmond Division


STEPHEN C. GRATZ,

        Plaintiff,

V.                                                  Civil Action No. 3:18-cv-645

DIANE GRATZ,

        Defendant.


                                    MEMORANDUM OPINION


        This   matter is       before      the   Court   on   the    Defendant's      MOTION

UNDER     RULE    12(B)(2)     TO    DISMISS COMPLAINT           FOR LACK OF PERSONAL

JURISDICTION       (the ''MOTION")          (EOF     No.   12).      For   the   following

reasons, the MOTION will be denied.

                                        BACKGROUND


        Stephen        Gratz   ("Steve")         filed   this     action      against    his

stepmother Diane Gratz ("Diane") for tortious interference with

contract, business conspiracy, and common law conspiracy.^ See

generally        Am.    Compl.      (EOF   No.    9).    Steve      alleges    that     Diane

interfered with contracts that Steve had with his father, George

Gratz ("George"),2 pertaining to various real estate holdings of

Steve and George in Virginia. Id. iSl 41-54. The nub of Steve's



^ For clarity, the Court follows the lead of the AMENDED COMPLAINT
by referring to the Plaintiff as "Steve" and the Defendant as
"Diane."


2 George married Diane after the death of his wife (Steve's mother)
in 2003. Am. Compl.              1-2.
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case is that Diane intentionally drove a wedge between Steve and

George, causing George to violate or terminate various contracts

and thereby causing losses to Steve. See id.

     Steve asserts that the Court has personal jurisdiction over

Diane pursuant to Virginia's long-arm statute, Va. Code §§ 8.01-

328.1(A)(1), (A)(3), and (A)(4), and the Due Process Clause of the

United States Constitution.           Am. Compl. 5 4.          He alleges that

Diane, who lives in and is a citizen of Florida, id. 5 2, owns

real property in Richmond; keeps personal property in Richmond;

and has ''continuous and systematic contacts with the Commonwealth

such that it is her second home." Id. Further, he alleges that

Diane,   directly    or   through     an    agent,     transacted    business     in

Richmond     relating     to   the        properties    at   issue,     committed

intentional torts and other wrongs in the Commonwealth, caused

tortious   injury    to   Steve      by    acts   outside    the    Commonwealth,

regularly does business        and derives substantial revenues from

actions within the Commonwealth, and has minimum contacts with

Virginia. Id.

     Diane   moves   to   dismiss     the    AMENDED    COMPLAINT    for   lack   of

personal jurisdiction pursuant to Fed. R. Civ. P. 12(b)(2). ECF
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No. 12.       The parties have fully briefed the MOTION and it is ripe

for decision.3


              THE STANDARD GOVERNING FED. R. CIV. P. 12(b)(2)

        Where, as here, the Court considers a Motion to Dismiss under

Fed. R. Civ. P. 12(b)(2) for lack of personal jurisdiction ^'on the

basis    of    motion   papers,   supporting   legal   memoranda,   and   the

allegations in the complaint, the plaintiff bears the burden [of]

making a prima facie showing of a sufficient jurisdictional basis

to survive the jurisdictional challenge." Consulting Enq^rs Corp.

V. Geometric Ltd., 561 F.3d 273, 276 (4th Cir. 2009) (citation

omitted). Like Fed. R. Civ. P. 12(b)(6), at this ''preliminary

stage, even when the motion is accompanied by affidavits, we give

the plaintiffs' allegations a favorable presumption, taking the

allegations in the light most favorable to the plaintiff." Sneha

Media & Entm't, LLC v. Associated Broad. Co. P LTD, 911 F.3d 192,

196 (4th Cir. 2018).

                                  DISCUSSION


     Under the foregoing authority, at this stage of the case,

Steve must make a prima facie showing that the Court has personal

jurisdiction over Diane.          As set forth below, construing Steve's

allegations in the light most favorably to him, the Court concludes



3 At the initial pretrial conference on March 20, 2019, the parties
informed the Court that they did not request oral argument on the
MOTION.
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that   Steve   has     made    such   a   showing    as   to   specific        personal

jurisdiction, but not as to general personal jurisdiction.

I.     Framework for Personal Jurisdiction Analysis

       Federal courts exercise personal jurisdiction to the extent

allowed under state law for the state in which they sit. See New

Wellington Fin. Corp. v. Flagship Resort Dev. Corp, 416 F.3d 290,

294 (4th Cir. 2005); Gillison v. Lead Express, Inc., No.3:16cv41,

2018 WL 6537151, *5 (E.D. Va. Dec. 12, 2018). Personal jurisdiction

must comport with both state law and the Due Process Clause of the

Fourteenth     Amendment       of   the   United    States     Constitution.       New


Wellington, 416 F.3d at 294.              Thus, the Court must first look to

Virginia's long-arm statute, under which Steve asserts personal

jurisdiction,    see     Am.    Compl.     ^   4,   and   then      to   the   federal

constitutional requirements.

       In relevant part, Virginia's long-arm statute provides that:

           A. A court may exercise personal jurisdiction
           over a person, who acts directly or by an
           agent, as to a cause of action arising from
           the person's:

                  1.    Transacting        any   business      in    this
                  Commonwealth; . . .

                  3. Causing tortious injury by an act or
                  omission in this Commonwealth; [or]

                  4. Causing tortious injury in this
                  Commonwealth   by  an act   or   omission
                  outside this Commonwealth if he regularly
                  does or solicits business, or engages in
                  any other persistent course of conduct,
                  or derives substantial revenue from goods
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                   used or consumed or services rendered, in
                   this Commonwealth. . . .


Va. Code §§ 8.01-328.1(A)(1), (A)(3), (A)(4); see also D^Addario

V. Geller, 264 F.Supp. 2d 367, 379 (E.D. Va. 2003) (discussing

that    Virginia's      long-arm         statute       is    ^'a   single     act   statute").

''Virginia's long-arm statute extends personal jurisdiction to the

extent permitted by the Due Process Clause, [so] the statutory

inquiry necessarily merges with the constitutional inquiry, and

the two inquiries essentially become one."                             Young v. New Haven

Advocate, 315 F.3d 256, 261 (4th Cir. 2002); see also Consulting

Eng'rs Corp., 561 F.3d at 277; New Wellington, 416 F.3d at 294.

        The   federal   constitutional            predicate          for    the    exercise    of

personal      jurisdiction          is    the     familiar         requirement       that:    "a

defendant must have sufficient 'minimum contacts' with the forum


state    such   that    'the    maintenance           of     the    suit    does    not   offend


traditional      notions       of    fair       play    and        substantial      justice.'"

Consulting Eng'rs Corp., 561 F.3d at 277 (quoting Int'l Shoe Co.

V. Wash., 326 U.S. 310, 316 (1945)). Within that constitutional

framework,      there   are     two       forms    of       personal       jurisdiction:      (1)

"general jurisdiction," resulting from the defendant's "continuous

and systematic" contacts and activities in the state, see ALS Scan,

Inc. V. Dig. Serv. Consultants, Inc., 293 F.3d 707, 711-12 (4th

Cir. 2002) (citing Helicopteros Nacionales de Columbia, S.A. v.

Hall,    466    U.S.    408,        414    &    n.9     (1984));       or     (2)    "specific
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jurisdiction" if ^'the defendant's contacts with the State are also

the basis for the suit." ALS Scan, 293 F.Sd at 712.

       The   exercise      of   general    personal        jurisdiction        over    an

individual is limited.            General personal jurisdiction requires

that   a   defendant's     activities     in   the   State          be ''continuous   and

systematic,     a   more    demanding     standard     than          is   necessary   for

establishing    specific        jurisdiction."       Id.       In    other   words,   the

defendant must be "essentially at home" in the forum. Goodyear

Dunlop Tires Operations, S.A. v. Brown, 564 U.S. 915, 919 (2011);

4 Wright & Miller, Fed. Prac. & Proc. Civ. § 1067.5 (4th ed., 2018

update). "For an individual, the paradigm forum for the exercise

of general jurisdiction           is the    individual's             domicile. . . ."

Daimler AG v. Bauman, 571 U.S. 117, 137 (2014) (quoting Goodyear,

564 U.S. at 924).

       The   Fourth   Circuit     has   formulated         a    three-part     test    to

determine     whether      specific       personal     jurisdiction           has     been

established. New Wellington, 416 F.3d at 295. As applied in this

case, the Court must consider: (1) whether Diane purposely availed

herself of the privilege of conducting activities in Virginia; (2)

whether Steve's claims arise out of activities that Diane directed


at Virginia; and (3) whether exercising personal jurisdiction is

constitutionally reasonable. See id.
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II.     Steve    Has   Established    A   Prima   Facie     Showing    Of   Specific
        Personal Jurisdiction


        For the reasons set forth below, Steve has established a prima

facie showing for specific personal jurisdiction. Accordingly, the

MOTION will be denied.


        A. Materials The Court Considers In Deciding The Motion

        As discussed above, the Court has not conducted an evidentiary

hearing in this case. Accordingly, the Court decides the MOTION on

the basis of the allegations in Steve's AMENDED COMPLAINT (EOF No.

9); Diane's ANSWER (EOF No. 14); and the parties' legal memoranda

(EOF     Nos.    13,   16,   17).   Additionally,    both    parties    have   filed

statements, pursuant to 28            U.S.C. § 1746, in support of their

positions. See EOF No. 13, Exs. A and B; EOF No. 16, Ex. 1.

        In her statement, Diane refutes many of the allegations made

by Steve. And, in his statement, Steve reaffirms that the "amended

complaint is a truthful and accurate statement of the facts as I

know them and is based upon personal knowledge." EOF No. 16, Ex.

1.     Because    the    statements,      made    under   penalty      of   perjury,

contradict each other, the Court considers them to be in equipoise

and not dispositive of either side's position. On this record,

then, the Court decides the MOTION on the basis of the allegations

in the AMENDED COMPLAINT, the admissions in the ANSWER, and the

parties' legal memoranda. And, the Court must view the allegations
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in a favorable light to Steve. See Sneha Media & Entm^t^ LLC, 911

F.3d at 196.


     B.    General Personal Jurisdiction


     Before    proceeding      to    specific     personal    jurisdiction,     the

Court briefly addresses Steve's argument that the Court has general

personal jurisdiction over Diane.           Steve's contention is that the

Court has general personal jurisdiction over Diane because her

contacts with Virginia ''were and are continuous and systematic."

ECF No. 16 at 4. In particular, Steve says that Diane owns some

real property in Richmond; she keeps personal property in Richmond;

she has communicated with George about the contracts that are at

issue while he was in Richmond; she has been physically present on

real estate business in Richmond on "numerous occasions"; and she

has been the director of an art gallery that purportedly does

business in Richmond. See ECF No. 16 at 4-6.


     However,       even   reading   Steve's      allegations    in   a   favorable

light, the Court concludes that he has not made a prima facie

showing of general personal jurisdiction. General jurisdiction

requires    that     the    defendant's     contacts     be     "continuous    and

systematic" such that the defendant is "essentially at home" in

the forum state. Goodyear, 564 U.S. at 919; ALS Scan, 293 F.3d at

711-12.       The     Fourth   Circuit      has     instructed    that     general

jurisdiction    is     a    "more    demanding      standard"     than    specific

jurisdiction. ALS Scan, 293 F.3d at 712. For an individual, like


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Diane, the ""paradigm" example of general personal jurisdiction is

the individual's domicile. See Daimler, 571 U.S. at 137.

     It is uncontroverted that ""Diane is a citizen of Florida."

Am. Compl. SI 2 (ECF No. 9). Thus, the ""paradigm" example of general

jurisdiction    is      not   present     in   this    case.    Nor   is     the   Court

satisfied that Steve has established that Diane is ""essentially at

home" in Virginia. As detailed below, her contacts with Virginia

are sufficient to establish a prima facie showing of specific

jurisdiction. However, the allegations do not establish the sort

of heightened contacts necessary for general jurisdiction.

     C. Specific Personal Jurisdiction

     Steve has made a prima facie showing of specific personal

jurisdiction.      He   has   shown      that:   (1)    Diane   purposely      availed

herself of the privilege of conducting activities in Virginia; (2)

Steve's   claims     arise    out   of   activities     that    Diane    directed    at


Virginia;      and      (3)    exercising        personal        jurisdiction        is

constitutionally reasonable. See New Wellington, 416 F.3d at 295.

               1} Purposeful Availment

     Several    non-exclusive         factors     are    assessed       to   determine

whether Diane has purposefully availed herself of the privilege of

conducting activities in Virginia, including whether: (1) Diane

had offices or agents in Virginia; (2) Diane maintained property

in Virginia; (3) Diane solicited business in Virginia; (4) Diane

deliberately     engaged       in   significant         business      activities     in
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Virginia; and {5}          Diane made in-person contact with a Virginia

resident respecting a business relationship. Also, consideration

is given to the type of communications the parties had about the

business being transacted. See Sneha Media & Entm^t, LLC, 911 F.3d

at 197-98; Consulting Eng^rs Corp., 561 F.3d at 278. Put another

way, purposeful availment ""ensures that a defendant will not be

haled into a jurisdiction solely as a result of random, fortuitous,

or attenuated contacts. . .or the unilateral activity of another

party or a third person." Burger King Corp. v. Rudzewicz, 471 U.S.

462, 475 (1985) (internal quotations and citations omitted).

        Considering     these    factors,      Steve   has   established    a   prima

facie showing that Diane purposely availed herself of conducting

activities in Virginia, directly and through George. The AMENDED

COMPLAINT alleges that, between 2008 and 2014, Diane intentionally

interfered       with   and   conspired   with    George to     breach     contracts

between George and Steve. See Am. Compl.                       6-40 (ECF No. 9).

While    Diane    denies      certain   jurisdictional       allegations    made   by

Steve, including that she operated a business there, see ANSWER SI

2 (ECF No. 14), she admits other allegations that establish a prima

facie showing of purposeful availment.                 Diane admits that she and

George own real property in Richmond. See ANSWER SISI 2, 4 (ECF No.

14). Diane also admits that she ""has had numerous communications

with George over the last ten (10) years while George has been

physically present in           Virginia." Id. And, she admits that she

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maintained personal property (a vehicle and architect's drafting

table) in Richmond, and allowed George to use the vehicle while he

was present in Richmond. Id.

     The allegations in the AMENDED COMPLAINT and the admissions

of Diane satisfy the relevant factors.

               2) Whether    Steve's         Claims   Arise   Out   Of   Diane's
                   Contacts With Virginia

     Diane's contacts with Virginia that are outlined above are

almost all related to Steve's claims, and to the conduct that he

alleges to be actionable. In essence, Steve is alleging that, even

when Diane was not present in Virginia, she reached into Virginia

to tortiously interfere with the contracts at issue. Either while

Diane was here or through her communications with George while he

was present in Richmond, Diane is alleged to have committed the

tortious conduct alleged in the AMENDED COMPLAINT.

               3) Whether Personal Jurisdiction Is Constitutionally
                  Reasonable


     Lastly,      the   exercise   of    specific      personal     jurisdiction

against   Diane    is   constitutionally        reasonable.   Several    factors

inform the analysis of this jurisdictional component: (1) the

burden that litigating in the forum state places on Diane; (2) the

interests of the forum state in adjudicating the dispute; (3)

Steve's interest in efficient resolution of the dispute; and (4)

the shared interest of the states in efficient dispute resolution




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and furthering substantive social policies. See Consulting Enq^rs

Corp., 561 F.3d at 279.

      It is true that litigating this case in Virginia does impose

a burden on Diane compared to litigating it in Florida where she

lives. However, Virginia is certainly not a foreign forum to Diane

either. She owns real and personal property in Virginia; she has

visited    on   numerous    occasions; and      she    has,   through   George   at

least, conducted business here. Further, the properties that are

the subject of the contract dispute are in Virginia and Steve is

a Virginia resident. Thus, Virginia has a much stronger interest

in   the   outcome   of    this   case   than   does   Florida   (or    any   other

jurisdiction). Lastly, litigating the case in Virginia will help

prevent delay for Steve and ensure that the dispute is resolved in

a more efficient way.

      Under these circumstances, the exercise of specific personal

jurisdiction over Diane is constitutionally reasonable.




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                               CONCLUSION


     For the reasons set forth above, the Court concludes that

Steve has established a prima facie showing of specific personal

jurisdiction   against   Diane.   The   Defendant's   MOTION   UNDER   RULE

12(B)(2) TO DISMISS COMPLAINT FOR LACK OF PERSONAL JURISDICTION

(ECF No. 12) will be denied.

     It is so ORDERED.




                                                   /s/
                                  Robert E. Payne
                                  Senior United States District Judge


Richmond, Virginia
Date: April      2019




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